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                                           UNITED STATES DISTRICT COURT
                                            FOR THE DISTRICT OF KANSAS
 /\1      ·        1       1:;_·      41::..                                                                22-3170-JWL-JPO
 LJ" (;y.h,pV\ t( Ct· w\t~ lr, 0~3DT5( •Plantiff                              .        CASE NO. - - - - - - - - , . - - - -
       (Full Name)                                                                                     (To bo supplied by the Clerk)

                   v.
°Je.,~ ~\"'rl u·l,~j ·c-\-~ ,Defendant (s)                                                     CIVIL RIGHTS CO:MPLAJNT .
                                                                                                  PURSUANT TO 42 U.S.C.
                                                                                                         §1983


                                                                   A. JURISDICTION

              1)       6",~\:oe\ite.r &r~>"rn ·# (?-:3D7i
                                                   (Plaintiff)
                                                                                       , is a citizen of__,_)s~-6.,,=il'-'-),...~_,t\"""S.___ __
                                                                                                                    (State)

                       who presently resides at                                                                     f'D B~2- '60 \ · ~
                   K:oV1~,~ L~-~ ~W~\, 7                1

                       ufccmjinemfmf..)



              2) Defendant            ·a-e..+=f
                                      .
                                                   ~~V\v .L,_
                                                (Name offirst defendant)
                                                                                                                        is a citizen of

                        ~~b'-J                 K~(City, State)                                                      ,andisemployedas

                          ~f               of- l.@,~ru,4/\W'    ,-~ K'':) b't . ,i' (ortu.1~-,, ' . At the time the
                                                 (Position and title, ifany)

                       claim(s) alleged in this complaint arose, was this defendant acting under the color of state

                       law? Yes 'gJ, No D. If your answer is•~es", briefly explain:

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       XE-2 8/82                                    CIVIL RIGHTS COMPLAINT §1983
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  3) Defendant Li \-o\ov1f kt..0~~
                             (Name ofsecond defendant)
                                                                                                             is a citizen of

     _Jc_,__0--4~-~--..__-:1-J_\<:~':)--,--~~---------__,.• and is employed as
                                    (City, state)

                                                ·_·O_G___::,_f)_~_-_:-,•-..._1f\_'---~___,.~:;...__ _ _._ At the time the
     _CJY\_.:..._~.,_____r_K_(\)_u_L.....,...U?----
                         (Position and title, ifa-,ry)

     claim (s) alleged in this complaint aro~e was this defendant acting under the color of state

      law? Yes ~ No D. If your answer is "Yes", briefly ex.plain:

    .11V:] ~Q. it Kboc (__,;,~'l)r.S M~/(\~:,,rc(Lk\) t\N1A t'.kJ'..,+ ~
      ~e_ Sc.Ll1'..~(•,.   DF Lon-u.,\-1-0"''.h be.bf. rve.e. tpr {1().1'1._(\1:..e-S," '·
         -+-he. ;, o~ _·rc rA- l c,.,. . . i.._ ~ f\ 1 ·~ ·~·- t&..v4 ( C.ct,f'iN_.c i ./ ,,., ,,.
      (Use the back of this page to furnish the above information fot additionafdefendants.}



  4) Jurisdiction is invoked pursuant to 28 U.S.C. §1343(3); 42 U.S.C. §1983. (If you wish to

      assert jurisdiction under different or additional statutes, you may list them below.)




                                                B. NATURE OF THE CASE

   1) Briefly state the background of your case:

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                                        C. CAUSE OF ACTION

  1) I allege that the following of my constitutional rights, privileges or immunities have been

      violated and that the following facts form the basis for my allegations: (If necessary you

      may attach up to two additional pages (8h" x 11") to explain any allegation or to list

      additional supporting facts.)

      A) (l)Co-untl:           5DG ::reff PMv:J0, V1'<2IA.+eJ fr\~ 1$~
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            (2} Supporting Facts: (Include all facts you consider important, including names of

            persons involved, places and dates. Describe exactly how each defendant is involved.

            State the facts clearly in your own words with.out citing legal authority or argmnent.):

                c ~ be~ ~fu(+LhJ)



            (2) Supporting Facts:




                                                                                                       3
XE-2 8/82                       CIVIL RIGHTS COlMPLAINT §19&3
  Case 5:22-cv-03170-JWL Document 1 Filed 08/16/22 Page 20 of 134




      C) (1) Count ill:           tfh 0o-.r-ci L H-D l ¼tA.v'.) v,"Z) l t1i_+e.1 f\J 7 Zth
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                       D. PREVIOUS LAWSUITS AND AD:MINISTRATIVE RELIEF

   1) Have you begun other lawsuits in state or federal court dealing with the same facts

      involved in this action or otherwise relating to the conditions of your imprisonment?

      Yes 'fl] No D . If your answer if "Yes", describe each lawsuit (If there is mote than

      one lawsuit, describe the additional lawsuits on another piece of paper, using the same

      outline.)

            a) Parties to previous lawsuit:

                 Plaintiffs:CJ,r~-~o~!Aet E.-r...J;f\
                 Defendants: '3t- c;:{' :2-rv:ivJ/},...

                                                 G.'l.,dt-7 D,~+nc...+ !/-(Wt,";) 1r."~t/J'J
            b) Name of court and docket number ~VLV\W0r¼\
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            c) Disposition (for example: Was the case dismissed? Was it appealed? Is it still

                  pending?)           Pev\.j_c A')

            d) Issues raised .          *i:t.loe.-0....::). Co.{\) :;i


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XE-2 8/82                                CIVIL RIGHTS COMPLAINT§ 1983
  Case 5:22-cv-03170-JWL Document 1 Filed 08/16/22 Page 21 of 134




            e) Approximate date of filing lawsuit---=G--1-/_)_D_.(_tJ-_o_'Z-_l_~------

            f) Approximate date of disposition
      1) I have previously sought informal or for:p1al relief from the appropriate administrative

            officials regarding the acts complained of in Part C Yes~ No O. If your answer is

            "Yes", briefly describe how relief was sought and the results. If you answer is "No",

            briefly explain why administrative relief was not sought.

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                                              2) REQUEST FOR RELIEF

      1) I believe that I am entitled to the following relief:

                    (! ltk ~e_ ~ . ~:bh\,ak,eJ.J




      Signature of Attomey (if any)




      (Attomey's full address and telephone number)



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XE-2 8/82                             CIVIL RIGHTS COMPLAINT § 19~3
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                                           A- """l \oc.,"\ ,lJi'\l\.r\ r;:..V\.LC,.. I.Xi .-11r"') <tLo ,t"\11\,\tvi J t.l ,r,
                                                                                              I                            ••
                                                                                                                               (..,t-Ar-1, a. .l l0v1....tr.t.lJ
            ~u\r?\1':)w.A. ~ \--~ ~l\:,tf.>n."-l ftCA.JtM; &f·:x.ttVLU.~,", Uil.t:..J.+C.... ~-'-{'."1 '
             ne&._    ~q_u vio+-· ~ t)I;~~il& ..f~M 6-Rte-lAcitr~                                 f.l.~         Ji";>cl'flr-1c.cy ~f\.<-\--(1~.h'"\                .
tJ 1)6 (A:c,A- if- L(1>·A j +.-- '5c.~ -~~~ -- o--sJ ,.
                                                                                                          CA.

                                           i)
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  \              D-e, ft" ~-I- ~,1u ~, U,f\;f ~f-/\Ao,'\lrc>r ,,,6' 1"'e. "::>t-o.. ff-Ml-fi\l\~r· Jx~ ')iAA-+eJ...._ Lo7
                 +k..1:)e_p--1l, 5,eu~uh:~,~
                 ClVI~ qU-d.J\.'t-r+~,        *-~l_
                                                    *:rti.tll1~r~ IV\.a.nc-st.nl...+- i-o M~•,f ttr t--L-i.L jv.J~il
                                                 "be.Nf;-t,, ~.t)YX4-r~ J.-e..l ?,n.ry ) f{D\Jt,t-J_e_ t nr-A-· tu: ,.,--t,
                 r-~ h, ~ - cl.-,ein-lofhlt\,,+-- &-f-- rviccl_,'-Clul &.-1'-vh:,) t\]'1J..f-o -fZ\._c..ll r~k'
                 ~l,~\~t\';)            a.v-J, (.,6),.){"'j_l'~te. 0+?:lV\J-c,~r t-eJ.. J..-e-p~,'\--~-t~+l\.l ..fo¢J.. se fvr-<-e..
                  M ~ "'-~~-e     ~(l_(/\_   t,
                  De.pA..<-+1/v\.itv\.f-od CJ t r,J'{_~\, \ Hu-vl_+~ A1 f-&tf>tHy ',. ~t.. p~1751'"c;,./' Ae.J (!!~ I . -   ,.'4,(\

                  \)I' re...uh.-,r L«..e..:2 ,~.,-.. . ._\ Mec\tlfo.l. . 'Dt'r<..oh,r) tfr. t-\...tL. .          ct..'tV\.~, ::
                                                                                                          c ~r-y,•'"(\r~+-,ri.,, ~
                                                                &.f- \l)~l~ CA.i"l-- ~c..(vt'--t'.-~ -f..,9/' l-"'e.. k:tc~ ..
                  f'<-':]p\9•'\'7>\\o\-t.. hr~"--- ~'1.nJ\'""=,I ,jr\
                 ~':, fO~r4--r~.'\ ~A..';, ..fvu e.J /,,Jc.A..l (}.J)t-c.✓,i)(v~, ,:;....-il rv:,rc.~,,~t L:.J; I"~'i ~r
                   e,U re~ l ~ ~ L+~ c..o...rL ("::>f>-Je ~ 4J n-\,,.;'.., ~c kb C) C ,f'
                        V\


                  b,'re..ut-.)r ~f k~I I--"' t;...re_ &erut~ ·~ A-cJ--b o.:~ +~- J/1'1 fr1'i.)1'r,;.,'..f-,\re_
                  'vie~\,\+~ c,,__vf-l,,\t, rrt-       ~ ri-½z..      be.p. . . c-'·h,t-vvl-, 'Th,~ p0~l'+/'-,., IMa.~j.(__"=-
                                                   1
                  ·~<A..-\+4 C.lL~ s ,1,\-o;v\,~ J d-.-f'rtk½ ·-i,-t,._{._ ~.u\,l ~ Ca..f1!_ ~-e..rvr"c...e..;l nc.J...e.-()
                   °"ko.__ ~~ -ftt"\...._\ ~ p-r-~Vcvl ,SW\ aJl pd t~;<.~ (i\.!c""\J._ pro(..d..r r'L';. ti'\ +-hL

                  \'\'t..t\.1-~ C..&\..r~ "v'"/ ~'je..,~ ,. .
                             H,
                 fic..n A-a.WI.) J\ ij\-r<-i.J+-~Je l+ e~\'"~ Av ~llf;-+, pp \~t.. ~l-~"t+~ ~ ( V ''c..t!. ~
                  A-J....W\tl\r)+Pi....tl>,.- r.t...'jf,)>"(\':;,~½\t.. .Pe,r ·--t\·-t--()(1hl{)~ll"' t!J+- ~a-.,l't"L\ c.c...r<... 'S{.rv1\..e.':>
                  t>...+ c-.... f6'.L;in, ,•lll\e..- 'f=ru:.ttH-, \:+tli\.,l~lA A-.J~or;1-7 ~e....-Lu.:. vv1..i~r+-~e..-
                   (l_J rc,(}~f'.t"' ~ \-¼!... \).e_ ,pc-sh,'lt\1.1\,+-·"\ (,_LI' r1 ,CA,\ H--~lf-~ f\-u ~c1 r; \- 1 C\_rvk. t-l-v1......
                   k-7,b•'\_~ V'I'ue. Pve',1'JuJ-· or J--.t.~~,\,\«.L ~1wu~~-·:ftr<1-t-'iv--L-l, ..
                  Fl)..0 li1t-1 lUV'\ru;,l \1t"-\ ~ A-vtki,-:4,~ ,.. l1x., -::,1-\--c f"''1':)i\.. f -"-"' M<-6-f.:"'-l b,\ruAor
                  ('-c.,~pl!IA'o\ ½\t. n ' ~ L b~,✓~~U'\:+--~A eJ t I\ ru.. \ \4· -lA.H--~ A-.r +t-.lO r / f-.~ -+c!) r  \l              rJ\,_


                   cl tV\)u\\ M~t't-t~ ~-to t\,,e., \+--e~lt-k St.rv,'"t~ ~c.l~vil'"r£~J.,r f'l)r l\..,lt
                  L\..~V\t\ ~V\t~~\ lf-L VV\(,~ I

                  .~-uJ ~/\ [A<e,' -r r~4-~ ,-,.:l•"\U- ~ ~- r<.,f"'::,Dr' l.0h',) 1'1(;,...~               VV\(..+ ~lL--       rue 1.ir-c~·UA,ts
                   ~f °'-~_t~ -eyfJ... '" ·--\J"1~- ?_~4--~"L ck·· iMeJ..tu''N!.-; cltv\.{-1 ..>~ 1 crJ\Jr~,\"~"
                   :r=-vJ1ui'J..vl,\.l 1t:J,):x-0t A-r- i\..&~A..r ~"--k'l\""' ()...t- t-V\L- "M.e.!fu.,l .&r r-tlt)i"Ov:>-:_
                                                        fl,


                    -:y"I pe,, \v\. ~ l.:, I?-r tJ.. l1' {.,,~ Pif'<-Sl-1(: ~ l +-o fv\e_-l,~ ':) p-U,;\f,c:.- n--ee.ul':>J WV) n:.J.,,
                   ~ft.. 'l,Dt'        ~}rl.S!>e..&. \o-i +-~e. 'j\-u.rJ.,,nh"ttJ rv1.&~ ~f;L~( J...,ut-,    1




                   M~&-t'-fftJ-... b ,'v~ ~ bYt.h M.~-J--L~r)lu-.(v•i\ly f'10>Ln·\o-c_,,l_ -4---i) ,rv-.e-t;f-
, o,~   ~.\.CJ     t)~(!.•.J.-..~' ~t&tfu.ll) d-tl'\;,\.o.,\J+V\~r"'--~~A--;--"') /~( r<lt,,".w~ Vl-uls. J
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6-<,utl u(JlJ fvc,uvt w ,} \-t-lV\ \ ~ ,+ r JL,tfulr"--~ pr~vt1-t.L \o1 -/---~L ir{.~Jk,I\.) pvi.;~,·'c.tut\1
c.\._-{."'\.--1'½t-) ~lA.. l.µ...,_ 'btru\ Le~ v~J,.qvu'-'\ i')\-A.,'tJ r) al/\!./1)1 t¼."{)l A..t'" lVl.l LJJ h_.,r-~ ~
 e..~~9ofM CL"':) c....to'jt-\..1 ~ \OID~ 1o \-e. +-~ 't~t_ ".)b,\.J.cArJr"r--eJ. \'V\<11\u. lf'vl~ rt!_
  9~\'-~rc... ~ol.c,ftcJ clt~h C\_l"'L- pn~-~<...d¼-e.-t.\ ~ ,~J.. Ln"J~tc<.I d-.f~~ ·
  ½1~t-u-c.k. l..t-t.iel(\,'?<-0-. b,-l:,tr'--rµ\_ ~, A-~-r:::,c.i--.. r~f<;tt,~J.._ ~ -i-~e.. .4-""'-Lr,1-cA-.,,
  \) I' ~\.~c;.., l½~x ok.-o\.10•"- ~r W '-r\t-, ~ •t..~ ~IL- t.l.~ WIN.Liiv~-£ ~(.) l v·,d t11v4-- t "1
  e~krc~~,r-;.~ ~ -'\-~: ~; V\) }~ r -e-~-~--t..~i:.t- 1 w r~\.. ~v;J{.v~<..€.. --~p n--l~v~"'-- -
   tet/\~-~t\.\.\~A-) -e~vc°'--+-Ni,r, l O\_r,~ l..>--''1~ I:> \r<.c-e"'--S>e.J,__ ~\.,, f.-.L..L s+....__.+e_ 1J~
     \.=:;~s ·:\-t. · ff""l\..L'\.-n:..e.... ell .t..~'\-tL.s •
    ~n:t r<-\c+- S\~~ ct1')1~~f"\~I lo;\ H·H.S ., ,, ~ ?l~V\n t ") ~vJ-._ J,.-tV't-t '-'Pt~)
    c....._     0¼.""'i,;....r~<""t·el. Mt.V\.0 .,             f -6'   't"l..e_ Prrq_\c'-=t..-eJ- itV\-(.V\\) -3'-"~ll be.. V'-(Vl/Ct..veJ
   l),v-0,_ ~~(~-r<'.-J.. \,},l i-k                D--e.pu \-. 1 Se.u--t~,.., ,,f-- 'fC4~,(~ l t·H'C:> ~l-ON).___'jt.lM.t.vdr-;
    ·w t\--\..-,_ ~ "°'~U \- •f :bit', ·+-~~ (:_~1/\,-\- ft.\_{_+ ~\-\DIA{~ , A_1nl_ bt("XA r'\--~t ~'{-.f ~
     ~tl\.\-r~~e.J.) ('~f•:H·<.rc.l - \ tU. . V\':Jt-J.. c,\f e.\-r-c.l'~V°'. .
     pl'o       .r ,'":) t~~   '6211\ "Ju r~ V\.) N¾,.,..f'0,..__r.J A-A 1vf;\J., o.r--t V"'-r,'f..,'\:'1 \' '"' ·-\-\.t.. M·tV\.J
                                                                                    I,{
                                                                                            1                                           i .... ..,



     A--1 l f.:,.D.l f t(.1~s -:Av,-.\~ \ot2_. r V't.()t:---r-£1..(),_ \ t'\ 6\_(.(...C>r!.~-e.. ~ 1,,__ll\ ~t. S¼-A-e c.l_
      1o-\')rU1.1' t\lvt"s ~f- .\-""e.. f<-U' p<-1:) J l)-> t·)---'v\ ~JJS°i-"'"-LV\h v½,,,.1lt. +lr"tt-dJ~
      °'--~~r~f -r,~\t. ''t}} +·'-r-tc-t rA.U l~\. . . ,, , ,.
                                                     1
        0pi'e~ t>-f- tl,l\ WH.Vl\f~ ) ~lt'\du!{ Aj (YlO,L~ ~>(.l ~ tn AJi1/-c,~-4,(t-=teJ. J.r--d·-~)
         ')\;\rJ\. ¼)·{.,. -r~~(,,v~.l ~ ~t,..                         ia.u l{'H'.(.~ .fe)l!"- -\-~e... Cclr\+nLL,,+-MtV1i',-~r 1s
         \J-{,\J' ("t.w J aJ t>~ v.\ 1'"·~                lDu..1 ~t1,J--~1-t~" et J...--e..v-,'-.:.d. .1'0,,,_~ -P~v"'\ '\--~ e....-
          v\J\ {_ 1/\ \j 0.....0 11z>---e. "'-" -ttl. ••, _,
              f'ru~bto,0·-~?J\i-"'1 N\)\.r:\--,,~~~"v\ f+~e..7u(l,h-f }V\ j\l\;,&,'f-l'{J_ ·~Ll--s ~
     J:v\l,'v,'t1"'l,'ul ~,-~\.::. rt'-c-..~ ~\'.,, ~r-~\-'\--eV\ ~~ fte.":,L,~;-\.:JJ ·\-rod-i~j            \or~~
 -- -f\/\1~\'Cf;-'°' ~ / or b-tli\~~y:) WV\~\ - ~ ~ffiv\J.~' .'.) ':7f'tlt'fvt V\~ei.A_ G:u,l"lwt-
     ·al/\r\t;\- ~ °'- :,k,--J.4'.r >--t "t;-~ IV)~~.~---u\. Mttl[ l~\ ~~t-\-,,,
              Al\ ~i\»-,v~J.. vi\\ t'Ud.. ~\.,\- rn.,-:.u-)~ri'~,<~ ~V¼,~\ ~' 0F-(,~;--t.,. C:l.r-J.... A..~ (.,i)Mp~k..
              &Iv\~ 057   .istMp~(.,.,, ~~        fo?;~~\~ ~¼~\~ ~~~e.r;\' A...~ d1>•,<l, ()...0 f""~/~\-t. ~
              1t\r«:_ ':)\?.i..~Vl("-J. ~t,\ V"'-t:i&_;_fi l~ ~ V JI t
                                     I                                          I
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         '\>«-f1'<(iA.ftDA ltJ/\.t:l S-t.N~~, Df fhoJ.tf-rul b,-<.,t-5 ~ ~1'c) f ~,s,.l_~,"c.e._
         sk.W- <c,~ ~ +re,,_/"ul k.i ~ ~V\_~~rr'7 ~J~ Dtd-,c.tcl.V\
                        r
          for ¼L ro v·,~r., t) {2- Rc ·M.lcih'"'-l t&_r- <.1-s .
                                          t'"\


          e-'6tr:J-o\b"'tr-J {V\-e.c.\.\ ~(._),\J..v l-L-:> ~ lire. r1'\U\U ~ ~ \ . ~ -e,.~~\oll~~~
          6>I\. "'--         n>),c.._,~,~ C>fcle_ ~ ~.J"tclt.. ..for <;":)Jf-.ffd-L~t- ~°""""c.,e_
                       S-vS-l---t..lt_

          y>lc,J\f\~, ~ P('(..F-fW-'A) (>n~t-::.~+-wr~ 0.--pplt(t,{,lo~ Vl~l¼J ~uuk,+--/mt\,.
           ~- '='"'--f'~ CJ) J..u:,, u w
          tz"'~ ~ d lt~ 'Q"'-.t\..\ l -e_,~\g\         ,s"-' ~J4-l'"L lf,\&\-L "ueNi''c..~ "t>c1Aul.Jl-e...~
                         ~'~ +"''--f utfu-t -e~\o'lt"lW kt:J 1 i-Li•"'s °J::M.f f ~ ,. "
           ~':)f-y\-Cl--\,t-

          L>Jfi--V\ ~Uue.p\-ro~ ~V--C\JC',c,J--/'.)~ -Per wt.,-e.~.v1.<l ~r ~V-J~ ~ l c L
          G~t.cl.A~ D-yf0vul ~, ~L- b-e_pJ-1 ~ 0--f--hcll~Hc.s
          ~~+- ~ r \)-e.(lv~ ~c.:r~ ~P d0v~Vtn-e... &Mw_,,. CA3- l~~r
           l~) Vv\_-l"'l~ LlV\c. L.sJ,J'"J +-t,.>e. (:i) ½~~s} 'S\\~ll k ~J_ ~
            f'~ll\.r+-tM<.:::. ~\.-j -iA.C-lA [)__~ .. Vl.~()Ul'ol.__J ~rf-"' ho IM-Df'L ~
      )l{ lt?.~~ ~+-<.U,(,-0, tt-i- WU\ t f\.) ~l a.rJ_ lcx--~tk~'\-,
  j) ]]\ff l ~-f~Z)A- 1•t6vuL 5-)D-:lJU ,, ~ ; Pc¾-1xd·c>;_,~'2- pfl>~r{/ .. ·I.,
           Ret>G-!t~ lV\ lr">c.Jp\fna.r, 'b·e.;~OY\ ()JL OIA\, ~ ~~\rt. o....u..e~s +a ~ L . .
           ~~~'-~'5.t>A.••J \r;y¥ne., n--e.{M:, IA."'-:> oJlol,Ue.J... bi ..I:fvt.Pf' 1~ [ ~-{a_'7 tlvJ_
           2..b-l6lA-,
           ~'t>G'6.el/\,·~     p\"-<£l /,I\ ~r"' f:s\-l\tv-t.. fU::>'trJc.-f-~ve..- h_e"'')rh; ~f-kr ¾e_ .
          ,e...~w\-\ll'l- ~ll+e. ~ ~o:::> fd__ f(.,/ llft ll.llou.re.l ~l
                                                                 1 ~c pv--J~(l--1 l ,~J+ul_
          if\ ~l.~e'\,,\-~ w~\rc.~ '{v,.D_,y loe- f .xt-icr II fV\r+eJ. lo1 td\Lll t-l-y _
           t;)-t\/\.er~~ ~,! e.r,
          ~ ~1\-,~ e-;.\Av..J:,i-~ ""'J y \ ~ b Ql( cwel pr-& f c.n- 1 t'I\ f'e ~1-r/'v~11.1t.-
          )Ab ..s~ f.--_) t\J,A~ &o(__":,V)"r ,~.Jl C,w ~~ ~D~ I t~(N\":) tt+- t.\..( I ,
   '\t\) J:ti.\.f p n_,/DI ~lerP {'i\f~ lQ)l:> Gt,N},__ t\/\ce.it\,"-I v-e.~ , ,, "
         f C-c9~rt, '[)".)J'it\ t1An> L~J. s " " , 1:V\. t-~\i.L Lev{, l t ' Dr&/\ tll'V\15~1'()
                                         11,~                                  t                         V)

          -t-D ~~L l>'€..p"'-1iMevA-- oj-- 0--11"\ l V\ +-C\.k f°'_c..Jl 6", 1&f:renl~rs "b~C\.,,l l (ae_
          'L'i:l:,f,V1~ ~ ~ rll\{-,,.J.Le,1-e-..rt-L, ~, us~ne..., C,\,+ ~e... 1:"'- ~L..e..-
P?' Ii     1,,.,e,, ,.\ I\ """-•J-e,; ¾-e.., l t M iel -h, 0 r ti) jJ) Io•9 D per f"-1 {)e.r, "fl l
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                 . ["' c'V\,+e.~vt e~e..l/\!rtJ('lb ~ \ ,.\--l--.o~ 1Ltt~. t~·tPt~ l°' V'"\
                   ~{'/)A        v,. e,, 1-~ a._~ o-?- ~r-~ t/v\.Prt,, c~~ b-e-tA-loYl _1~
                  <L'90v-t"- ~l'SC-f f\                  ti\~,, 2:>e,ro.,~f-~v1 ~Ll_Du-tC\__lal ~ M-v-1-1 ~/1~{,Ad,e_
                 .fi9c- ~ (v~A-~                        ¼vDllj~ ¾             Q.&\ti! kevt       J
                 '•V, B, 1, 6..., LnV\~U.v') -e~v---J. {tJ re,~ J °'--~ ~t>rt ~el ~ 'i-~L
                                          1



                 -f.~ li ~ / t,vo..rAe "'- \o_i+-1 t f- c,_01--1,,b rr '(d,_ ""-t +-i,_.__ -~,:J l1i-7 l,Ja.rA -e"' 1
                 0~Lt n"+- 't-l> e?<--ceeJ.. j l D,DO per p0-yf"b Lt f"(.r-tsl. ~ 'S~l 1
                 to-e__u~ ~                 f0n.J,1.~~
                                                    ~Q.._                  -f~Ubwif\.j r+-<-~ ~II\ (7 ~ ~
                                                                            ~~-~Q__                                                t:,



                 ln o  J'){!_,   E).~ 05          ~ r(,~ (),__('('_ .fp(61.") ;
            t-) 1:fV\ Pr /b-\9-.~ /t-cl-e_s~ ~ a..11\l A-tr,dlo..lotlfl.l ~~- \.te_ J~ &rt!.--                                 0



                 $-tn.rr<.£-s        tJ       ,    ,   '/:;;:(/V\f__d)-{1At1 ~ S-triJl\.e.~ ., ,,,
                                                                                  efv\ustl,A_t,I ke.vU---~
                 0-.J._re,_, ~ v 1 ~ 5~"..ll 1z,e____ fnvrc!.el_ h ~ f\Vvttt,~ ·Iv\. O\Cl£>rlct.n.C..e._
                 (y t +--~ ~ Pf 1t>- l I Lf"

                 s    tc,L_ l11.. vl 6..-V\.J\ pli1 ( ~ tcJq.//s CJ rV\ fl-    (;E{Me_ ny!- V\.C..I ":: :, (;'e,l._
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                 (:A.l{ ".:>~'-\,l t ~ <\_V,JI tt,\,'\e, 'h tt_ l t I., ~,d·c, ~ ~ .P.0 INy
                 Q 4 V) 0 ~ lL 1~7 ) I J_<\,1 ~ CL we,Llt__) '°, h-l-0\, \ ¼ e_~ ~t2¢-..
               /+r-r°'J~Vv-l_Jfl~ 't]"\uJ..l ~ wiJe_ t~ ~vf'Jc_ 7::,1~ c<lt ~n.J)·~
                l " 1-~t.,, 1)\ ~cL <£· lllf\ } I \ ~ ( ~ J-.-e.J.---e. l'Vf-lbt1 ~-P--- +-le I Ill """l,\3-~
                l-~~J..'1 ~-~tJeo p~J.e.s {A_++c~J.""'<-e.. aJ- s n~L c__~(
               k ~'fbfu',,,,,, J phf,1U""' '.;. &ss,:>k.,+, er oJ..<rr.l"'ceJ.. of'<1)i''>'+ere.{
               ~vr.-,,.e.,, privl-rt-n,,.,ec- ~o..Ll be., OV\ ~,1e ·-tc> ~ 1AM.o,+e.--~ c.01-·
                         ,~r
               ~ M if\/\UVV\ ~ +-~rt.{___ ~. of'L-. ~ctlf- k'u-.J~ p-er ure.-~
               f-tr D,J\e_ ½u"'-lrel {J ~ o\ / ~ Q b ~                               ii      r                 .




             . f> ()l'.cLroJ W-1..d._c, Wvl'Le~ , , . l:'f\ J. rvr J ,,..,_ ( ~ M .,,._,f- ,oknJ:.
               ~h,ll k wrlf-/.e"\ ~ o.... pV.1 ::,tu'~,i er °'-"a 1-t,.o_r f_u0vlih'e.\.
                 l/\e.°'-l ~ CA.rt.. ::,~r.::f- LY f HA r'f\5•'1-rJc.f/'JV'\1!.. 1/'u,,. · I ,J ,11-"'<L..
                                                                                                     i _ ,
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                                                                                                           l I'\ ~s
                                                                                                           • -) -'-rt.-\._ 1

                  d.. FeJr; f-1/( e.-rrJ':>e.. ~ <J..G'-f 'hi.'¼"' '/-f> t\e.. u, r re.d-r.i,,..., l {ji\\J ,'nl"l.,-e.t
       \-91
                 &~ VV\eDll~~I\ I                                                                                                        ~
~) &'.h, \ I
x' }    i
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          \J n \ M~a t Jkt__,e_~ +{) ~ \ ,~ ~ ~rvfce~ , " ~V'U'v/                                           J



           V'lbf\--€Jfvte_~ci-; h_~l~ tque-1"+--/ n-f-eJroJt fu~ ~ 11'\,~r,.
            &r-~-€_f"'-<'l-W\~~ skW-0~~l ~. ~f'~~+-u-t~-e)..__J ~
          1/\.v--ci\-r_,J''-·+d ~ ~~l~ c_~ ~ w-~tn. 2.Lt ~v-n ~
           '(~_cJ tp'\- ~-+""CL.- r--v,__v,tJr-/ .-~.fe.rp._,,l,,, Gf 11-,Ltrn ~e__ {)~~- Q.._ L(_
           V'd'.')0 f? 0 1   l 'J.. V)   t> r.5TT:.   OA.   \,.t.r&.-lt..e.A-~/        ~ ~ vt ~.J-e.._ ':J1½_q__,_Lt be..
           ~V\      k,Y C\_ '-1~"-'LK c.wt.... ~~, , LJhU"\ 1. U-&1\,ltf-te.A.. ~~-J~
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          LA.ce__ p-tr::, ~v\" e--l 0--Q ri ,.r\--- Cl.~.nd l ~t ~ ) N'o"' -~ e-eiv l 4-{, +~/ ,"\ e.J....
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                                   FOOD LISTS FOR DIABETES
Meals are planned using four different categories or groups of foods. Foods within each group are
similar in calorie, protein, carbohydrate, and fat level. This similarity allows meals to be patterned
by specified numbers of standard portions for each food group. The pattern is defined into actual
menu items by exchanging the similar food items within each food group for each meal.
The four groups include:              Carbohydrates                                  Proteins
                                      Fats                                           Alcohol
                          ONE (1) CHOICE= ONE (1) STANDARD PORTION
**The Diabetic/Calorie Controlled Diet offers a specified amount of syrup on the diet plans when
on regular menu. 1 Tablespoon or ½ oz of regular pancake syrup is counted as 1 choice (15 grams
of carbohydrate)
                                 FOOD LIST FOR DIABETES
                          (Revised 2014, American Diabetic Association and the American Dietetic Association)
         Food List                  Carbohydrates                      Protein                  Fat             Calories
                                       (grams)                         (grams)               (grams)
Carbohydrates
Starch: breads, cereals                       15                            3                     1               80
and grains, starchy
vegetables,crackers,snacks
and beans, peas and lentils
Fruits                                        15                            --                   --               60
Milk
 Fat-free, low-fat, 1%                        12                            8                    0-3              100
 Reduced-fat, 2%                              12                            8                     5               120
 Whole                                        12                            8                     8               160
Sweets, Desserts, and
Other Carbohydrates                           15                         varies               varies             varies

Nonstarchy                                    5                             2                    --               25
Vegetables
Proteins
 Lean                                         --                            7                     2               45
 Medium-fat                                   --                            7                   5                 75
 High-fat                                     --                            7                   8                 100
 Plant-based proteins                      varies                           7                 varies             varies
 Fats                                         --                            --                  5                 45
·Alcohol                  ·-·
                                           varies                           --                   --               100
      * Protein calculations used in diabetic patterns are based on choices and a composite of our specific products




                                                                                                                           26
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 1800 Diabetic Meal Pattern (3 hot meals)                                              2200 Diabetic Meal Pattern (3 hot meals)

 Meal:                                                                            Meal:

 Breakfast                                                                        Breakfast
 Lunch                                                                            Lunch
 Dinner                                                                           Dinner
 Snack                                                                            Snack
 Totals:                                                                          Totals:



 2500 Diabetic Meal Pattern (3 hot meals)                                              2800 Diabetic Meal Pattern (3 hot meals)

 Meal:                                                                            Meal:

 Breakfast                                                                        Breakfast
 Lunch                                                                            Lunch
 Dinner                                                                           Dinner
 Snack                                                                             Snack
 Totals:                                                                          Totals:


Note: Physicians, medical practitioners and insulin-dependent diabetics can utilize the carbohydrate
grams in order to calculate appropriate dosage and timing of medication.
Most meals will fall within the ranges above though there may be a few exceptions as the regular menu is used as a base
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J. Franz, MS, RD, Patti Geil, MS, RD, FADA, Lea Ann Holzmeister, RD, Karmeen Kulkarni, MS, RD, Emily Loghmaui, MS,
RD, Tami A. Ross, RD, Pamela Wool£ June 2014

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Exchange Lists for Diabetes, which is the basis of a meal planning system designed by a committee of the American Diabetes
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the American Diabetes Association and The American Dietetic Association."

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PRIMA WEB RECIPES
The printed recipes in this manual are current as of the publication date and subject to
change. Please refer to PRIMA Web for the most current recipe.

This is not an all-inclusive list of diet recipes but just a quick reference guide. Please
contact your regional RD with questions about specific diet recipes.

 Itemon di et                                     . #
                                          PRIMARectpe                    ' Por tion *
                                                                    R ec1pe
  Scrambled Eggs                           M4868                    2 O'ZW
  Hard Cooked Eggs                         Ml81                     1 each
  Peanut Butter                            M2726                    1 O'ZW
  Break.fast Sausage                       M11452                   1 patty
  T.Ham                                    M677                     1 O'ZW
  Hot Turkey                               M670                     3 O'ZW
  Cold Turkey                              M2584                    2 O'ZW
  Fish Patty                               M11430                    1 patty
  Chicken Patty                            M11437                  · 1 patty
  Country Patty                            Ml1428                    1 patty
  Meatloaf Patty                           M11444                    1 patty
  Charbroiled Patty                        Mll458                    1 patty
  100% Beef Patty                          M10638 or M3266           1 patty
  BBQ Beef Patty                           M11454                    1 patty
  Meatballs (1/2 oz each)                  M5811                     6 each
  Baked Chicken Quarter                    M710                      1 each
  Unprocessed Turkey                       Ml0894                    3 O'ZW
  Unprocessed Chicken (pulled or           M3455 or M7954            3 O'ZW
  diced)
  Unprocessed Roast Beef                   M475                     3 O'ZW
  Stew Beef (or beef cubes)                M492                     3 ozw
  Cod w/Margarine (Unbreaded Fish          M11450
                                              )-
                                                                    1 portion
  Fillet)
  Rinsed Tuna                              Ml401                    2 O'ZW
  Scratch Poultry Patty                    Ml199                    3 ozw
  Sloppy Joe                               M2833 orM11982           4ozw
  Taco Filling                             M2837 or Ml 1981         4ozw
  Scalloped Potatoes                       Ml604                    1 cup
  AuGratin Potatoes                        M2931                    1 cup
  Spaghetti with Tomato Sauce              Ml595                    1 cup
  Meatless Chili.                          M5993                    1 cup
  Mac & Cheese                             M1568                    1 cup
  Scratch Salad Dressing                   M2836                    1 fl oz
  Gluten Free Soy Patty                    M2509                    3 O'ZW
  Vegan Scratch Bean Patty                 M4045 orM11531           1 each
  Vegan Hummus                             M2510                    ½cup
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  Vegan Pinto Beans                          M2002                     1 cup
  Vegan Lentils                              M4181                     1 cup
  Vegan Navy Beans                           M1785                     1 cup
  Vegan Black-eyed Peas                      M1996                     1 cup
  Vegan Sloppy Joe                           M5019                     4ozw
  Vegan Soy Patty (hot or cold)              M8208, M2519,             1 each
                                             M9625,Ml0352
  Management Loaf                            M2788                     1 serving

Clear Liquid Diet Recipes
Item on diet                            PRIMAReci e#                 Reci e Portion*
  BeefBroth                              M4648                        8 fl oz
   Chicken Broth                         M4647                        8 fl oz

Full Liquid (Broken Jaw) Diet Recipes
Item on d'1et                               ' #
                                   PRIMARectpe                          . Portion *
                                                                     Rec1pe
  Super Cereal                       M4649                            2 cups
  Pasta Based Entree                 M4655                            10/2 ozw
  Rice Based Entree                  M4656                            10/2 ozw
  Potato Based Entree                M4657                            10/2 ozw
  Pasta Based Salad                  M4659                            1 cup
  Potato Based Salad                 M4658                            1 cup
  Creamed Broccoli                   M4654                            1 cup
  Creamed Carrots                    M4652                            1 cup
  Creamed Green Beans                M4653                            1 cup
  Pureed Peanut Butter & Jelly       M4651                            5ozw
  Canned Fruit                       M4650                            ½cup
  Cake                               Ml1532                           1/60 cut
  Brownie                            Ml1533                           1/40 cut

* Standard portion in the recipe, if a different portion is needed then scale the recipe in
 PRIMA Web to correct portion
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                       KANSAS DOC MEDICAL DIET ORDER


        INMl\lE'S NAME {lAST NAME, FIRST NAME)        INMA.TE'S DOC NUMBER



        INMI\TE'S BIRTH DAlE                          lNMo\TE'SLOCATl!ON



        DIET START DAlE                               DrETENDDATE

                Code

        t=::J   CA             CARDIAC DIET

        C=:J    D18            1800 DIABETIC/ CALORIE CONTROU.EDOlET (SNACK INCLUDED}

        C=:J    022            2200 DIABETIC/ CALORIE CONTROU.EODIET (SNACK INCl.UDED}

        C=:J    D25            2500 DIABETIC/ CALORIE ca,ffROLLEDDJET (SNACK INCLUDED)

        C=:J    D28            2800 DIABETIC/ CALORIE CONTROU.EDDIET (SNA.CK INCLUDED)

        C=:J    SOGI           Gl {Gasro--fntestinal) SOFT DIET
                               PREGNANCY DIET (SNACK INCLUDED)
        C=:J    PR

        C=:J    HP             HIGH PROTBN /HIGH CALORlE DlET (SNACK INCLUDffi)

        c=i     HF             H!GHFIBER

        c=i     SOD            DENTALSOFT

        t=J     RD1            RENAL PR6-01Al.YS!S (Reslricled Protein) DIET

        t=J     RD2            RENAL DIALYSIS (Increased Protein} DJET

        t=J     CL             Cl.EAR LIQUID D!ET

        t=J     Ml             MILK INTa..ERANCE

        t=::J    FL            RJLLLIQUID (BROKEN JAW) DliET

        t=::J   FF-            ANGER FOODS DIET

        C=:J     GR            GLUTEN RESTR!ClED DIET

        C=:J    SFA            SEVERE FOOO ALLERGY DIET

        C=:J     HO            HOSPICE
                               011-iER,___ _ _ _ _ _ _ _ _ __
        C=:J
    Comment:

                                                      AUTHORIZATION SIGNATURE


                                                      DAIE REQUESTED




                                                                                         66
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       ArrMJrt--- ~Re_crp'~°:) &v._9:>t_ Cai of-A-GS M T ~ )
      ltf ,f-lYl-6-r"k --- brcl-()4.,fflrvt"' {_p"')(- Ca '1 k A-cs frL/IJT
      hlA./l/l UV., l ) wl_,t.-re_. 'J-4-. cl,-t:,,l- s\e..e +s (}_,()/v\lL ~ ~ ;,

l~) ~Y½Ut'c~V\~ \)l<i\i,e_b ~~OCJ~h1'/\ b kl.ae.~ -r loje {v\_q-(._i)J_ ~
 ,   ~e_ t>r~lotk_~             lP\~-te_ [\J\e_J~o.\_, l"o '-\--l-Le.o..•~5\c:.~\- ~7 ·}.> c.r~~ bl~7 Vl-tL•,h
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      C\.v\.i.l c..o.r\o ~ L-i, J._~k~ - W [ +--l-io.s I- aq'\7 c...o ~ v\-\--;,4 ) c_~[ c..J l ~f-;i'\ ) 1wt.','k i "'-) {)r.
       \fV\-{A..~un' f\.~ ,     'TlAc {J to..k ~ c- +-~~ ~ fVl v+-~ J.               "\ l , ~                  , a,
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        ctn~ f>t\oc..r. ¥V\l\.,~'I'\.) ¼~V\ ~V\ 1\\-\fod-·••..i\t- p~r+-u--~v.... lt\t."-l .U.., M<--h
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                e)f'\{._

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      ':;,D..>vU.s. \)')v~U, t&l\k..,-.1'\ v~tv QL{--eJ,._ f~+-J wh,'clA ~ i'l'\.ifU-...~ y o-.,r

       f-~~lL- ~f--- 0_eo..r\.- J....r'")·t.~~~ ~ L"UL"" pv'.>t-u\,~ ,11.duJ<- e\Jtt,L. e."'J i--Jr&-e."/;
      'e,Pf;S) ~ALl\1\1'.)V\) 4-vV\"'-.j t-DJ....) )~ 'ctcl~ MwJ~) )~~"- \,~4} )~I."}
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 {).,~ C\.V\ e,J'9ev{.~v-L ~IV)?·•~l'"\lY\ +- ©.fl '¾-te... t; JV ,(_,Vi -f-rU\~~t-p\A.V'\  p


j;~~i'v,Avtt.l~ l{)/fy-V) &.,.:v~•eJ.t./~ ~h~Ji J. (U.,1{}/'(., vV\6-tu-,'Jv,\llceJ.
 l\'\e.ATCAI V\ Jt-J'r\..rol\ ~v-""pj A2J V\eel-ecl ~ Cl&\r(,V'C, +re.."-+ul/\tv(4-
j'l' "-~ "') f R---Ar~1.o\y f "'"trX.~ J.,, .IP-J o."' ~ b -ltreJ\ '\:x,d,'u M
.:Pit,vJ\t\ \   "f 'Li}11~ ~e_; _tDN\pOI\~ ~ J...f'J\e,+c.~ VV\cJ.i(A \
 V\ v~~)~I~~ ~ra..p~f.,. Fb, lt'\tli\rrJvcJ~                l,u.   ,   -  ~fr?_ 1- &.,~to.Je~
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              Cbvi'> l ' ~ CAr~L.1~.,,                    •'nklu__ L,) tb-1,., m,~ +o ..;_,,~
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               AL>+-rf-i---1<!)~ Tu<.r~f'i S~~ll ~e_                             t\.J.~ uuJl--e.( 1 f'--Lf Iv\ 60 ~
              '½~     i'°!A~\.)~c_~ ~}-__                 ~~fo...y~-::i r
               Fi,r, nJ.-.tvtA.va,l~ wt+-lA 'T1re-1-- ~rctvlovk!:> 07;,r"J vvi u ( t-~ (>le.. J.4..r,(y
                I f\.j-lv+~ t'\.~ or LC)((\ii f'V--D..r<:.. 5-.)lo L-\J~-<...©uS '\ V\WHn \ nfif":,l'i)/\J' "'---
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                OY' lt v·-lnl-j-€..) ';t- ~a.') \.a-e_ef\ ~~~-tnrcl tk-\- ~f1e.. W l ~ cl..J--~~Lfc_ S.
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                ti.r//i ~ l/{){j/0 t').-.C- c.o..lbrt{..'h ..PrbM. -F-~+-/ ~¼L- ~rf'-J-trU~-fr, 0/ 0)
                 f-r;;""      r~w~ '
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                 it..P-W ~t--f'Nj ~ ~i\;i~._,l l ~ ~rl:,fJ-t.rvl w-l/\u-, J..~'t--lll pfVL) ~
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                P'\ o"r,t-., r(""1 C-4.floo~'jcJ.,~J-t 'rvt6-ll-t..) WiAtA·~u- b.t Cov--lo6~Y J..nv~e. ·
                L~ J v') \. -~) IS> r ~lif-U:1' U"\.Le. - \;o       .ek,i-- t'M (/\,,"1--r{J (\ ) fr..,(Jvt(J\.,~fl\ ~
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r/'.·          \o~ o._5.vr.,,~ OJU- h-..\-..k WM ' ! ) ~ Cfr\,o i.\y~ S&iJ('tJV;:,
        it-                 ~u
               ·e.,;,peu ½\}v.,~ ~,\- ct>~} 11\ /le\~~ R\-,,, J :ll.!;"'" &r '!:,'i)i:f\JM I
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     'D.e,tof rte.. +-tie___ r~ (\ e,\;01':::,Clv'-- v'-vz:N LA--~ ~ '/--t,vL. sihr-c1r(._,~ ~~
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      (J'-€,:Dp'le,, W- t ~ J..iG\J~.~ J fv'l.!>V\ft-ti n'"-') ~rlo.!l\A't cir?J...:l--e. CUNlll J ~ ts
     °'- 0 'b-e,Q \ "-it-,rv._~·~ f2or i'M.fl/1)v i'v--) f e'b+p1~cl!'cU\ ; l1tc.D~ ~vd--~ (,.
     l::7v.i--J..-lcf\.c.e,
     c::,-1
                               ~Vu'-\-. ~v·~ ~ c 6/U-lvd-1
                            -t'.><-..f«;~                  l      ~I V..V\J. sC : 'I(   ~
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     !:k· 6-t,r'\o\)~,&.~ ;,t Cf\.--f6'6i ~n-Plu-t\f\t~- b16)ol_ ~lCJLo~ liev·t-l_;
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      f r \JD , ~ \ ~et_~tV\.S +rr-
         D                                              t:L\.   ptt,-,'\-v-c. 1p~J:s. l0 fA c) (l.C1-e..,.rLJ....
       ~ Ui-rifl'o"' +Giv"i If ~ f::. w 0                                    6),l ~e.        oJ4 J<::,'1--M.tvlf- •f'-
       I I\ ~'0 \th       ~~ loe\.,seJ,             &vt v.v-,~)'i:9~~             \r'\ CA.floe, Vi7cl.vX..-k
       ) Yl   kk,.,, ~ phy ';) I ULl ui.'., I'~ ,
      ~ S01/V\.'(v\C....t-~1 ~ f\JJ~J"'{~:hf\ IV'\ +u-v-Lvvt--,"b ✓~ ~~~ 1ti_ ~VV\.~0!51~L-    ....



       o..._ V'-a..r't •tl'1 of- MI~ j' MU\.,u ~           ~~e.J. Vh->1-n -t.vt,,f---- J.-e..h~~
                                                            f    rt)

      --0-i0u ls I A o...ppn p-rr--~ P'°r+-ro.~ t> ,-ee..-;. 0,.,c.::, f'-'--1~ ~-f2-o.....
        ke.1A.l ¼ f\.>\ ceed--r~J ptt-'\--\-e.-rA a,V\c\.._ fY1hY i-J.~ ~t- 1nd-.,v,'J.v'vl
        lP .' \:-l\ ~t <-l.~t.\e..~ \J) ~-;t"V\ \) r~J-r--cGl, \ ~ o l":) ~-r ~ . . . 1-D - J.'1

      --9-DD~_ f \.tt.\l\ CQ,v,~ '6e,~v~°' Cfa\~'t.- -~+- l4,V\ ~ l/\,-\__l\,? ,·d··c~i"f\tcl
        &-/if }~ l o.lf\°) +-e-rM ~

,c~:'' ·· L){l\_\,-t..,4-eb MCLN-\-.)'"t: ~UN\-· L·, L.{, fTe.c.,.+-f0 ·---~ \ __E"11S1" f}Ji-a ,I\ S •                          Ill


          [D ,'o\,e,\-<'..."., &,,, Ve\" M'-' 's7 /3\J rf-U;\ed'r 1--; ':i ,;J'.J0'\.1'1 Q.1l ' '-( ) '
                               0lA ~ C:,,-\\./c..\t'.:L,ic., UiA.-½"-u \ 1~ fo~'\~~"'l,J,:i.,\ i'Zi t--~e....
         M               . , .
         1• \u....1/\CA.')-e~ \ "'"' l)     1      rr,
         YV\.,V'!J\...)~l'\--.v,J.- E)~    J.s~'¼-d-t~L. A- ('V\JJJ\.Nj~ O\C\_cl\ h' ~u1~tv-t-- (\or~"'
         e>r ""U-S--1\,\JCuw~.\ ~½U..lM.ta-... WI+-~ ~I\                   A-iC.,, '{)6vl J:· L. 7D/o $~\!
         \?-e,. ~t\St-lo r~J-. {le)(" ~J'-\.~-t.,\.('..S V\<\!A.~~IN.V\.\--· o..+ ~ -+ ~Mt.,          E)~·   IA.ii,.,\., l
          Jv\.e.AJ <A.\ '6J°t.l.l uc.0\.n,'"' .,
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{Vu\-rrt--fDf\ "vll-~ Foi)l_ ~.rufc.e..~ ! ~ L e.9'-SiL~\-a.v--.J\.. (f½-o'b~ C,() s-t-_:
e..J:fu:--..t.) ✓e.. M-l-C\.~ h +tl.c..H /-~-~i.           ,~.,J__      bJ-h::_d(fo\it.S.. i'Y\ ya~+-1 -ellv'k
LU r 1-h cA.tJ..lo·-v\-e...-::. T::, 1V1'_)-}-/ 1-J"'}'"'') I).... h-eN""+---l.-\-tf\.{+eiy &.,v v'I-· d...<:> +i,L
VV\.~i-(F fY\U\0 , Jh.(.rL. S½~vlj_ Ice.. LOV\'5\'S',\ c.4 uu'-e,~'h1J..r"'.Je.._
 ~✓\:t--tt"\.t· l-l.+- e__~l-. {"'-eivl } O\.~ w-<...H. o....& o.._ (v"\,c'._"\.l"\.e:, \-D ,J<.vt4-ff:'
                                                                                                                1
 r~c C..0-r\.o~"'1&-nv~Q. l.S.t\4tv\l\- c.:!Jf -e.u-..c.~ -Gal_                     =>-t.l-4·t/\!Vl ~ tP~v1-J1')
 L/4.< lt, /) lA7 J.n;\..~     L©f\.t(V\. !\--   {>·t {2c, .:)j___ '::)'-(. l--e.~f-, A-, a/11/c r r~v)f'J 'h)
                                                                               'J


,Lr\ Cf\-.':be.ss~n_5 [:t..\.r~b '-''l J-.nJ-e. ~✓\.t-e-* e,V"\....__\-::i·t~~ fO\.._{..r-ei-'\.. h ¾ f''J,e.:c.J-
~ - u~ u, r,,tv'\-tr\. \--s ©€-· 't-4..: r ('-le.J_fc,.,,~ l 6'\uh-:-}--.-~..., +~e.r""-ft (Jl 4-f\ ,( ., ,,
S~--o<f:.~- s\ttw(~ c;c('<> b             ""t, (                +-~,
                                   r IV'\ cl f {_ Mc\_V\_(Lj'l.~4''J-- l,/ &-ffi.d,,
 h-e~,JR~/ c.korc.~~ l'.lv\_~- \ i'-~1-i"") 4-~<....- ~r~~~ 7 J.~~~ Ui,'\t-tvv\-- l)f:.-
 .f'E>o~~ , -
 T~e.. u::»t.- k     t Ir\~J l: r\ & r b '""-" ~ «l f (!-l,t-,~.'\-s 01"''( V\ <:L-e..s.~ i'i c(_i-e. ..__
   S 11\.ClLL"b \/1'\ brl~ t--o 0-.-vt0t-d. V\L/po)lye__-et,1-i(cL, ~L~ ':M.~~
   G._(e_, r~(.\--    ck·     rt-(1-fo-t-l---5 )1'1\tc\._{V\.~ +-r~cd-~ 4'\.t-·--plt\._V\_S, Gvtcl
                             @:... ':) "\J l-~


    5~cl&_ k,e_ pc-t-blvl\o~J. 1.oy /v\tclr-cvi \ ':)\-c:\.{t-,

   '-f;-""~ J;.- ,""-!A..l..,,,,., et.V\~ ~11\. :....c~s lf\-\0~-\-- \oe.
                                                     1                          LOu,,Vl"tl...-{-ecl_ uJ r-~
    Wr(A_'\-f~r, a...A.M"t '\~-:i+-,q+,"II\
                              .
                                            ll.':) V\t.-eJ..-ol +';) \f\,\~,/\\Mc\~. 't¼--lf',~1t_

    b,f· h~ p-oc;lice_~r~) ctS c-L"'l LJJ'=>~J. Vv\_oCL 10\ll/ '\-Le. vll\.ulrad--r~"'
                                                                                     1
                                                                                     L 1\


    15ec\-fb., J;,_ -~~s d ocu ~"'°"-+.
     Ur¥~\d--a.~ ~v\AUS<-N..,'~{~ ~ Atl rl,lw (vtk. Y"'\v")t-L._o..v-e.__
     D....(Lf.,,S~   t-o pr"~{\- t-rwJ-l'-\W\_4-- c>(-- ~, {'D - a.lA-dl ~, (Jlrjlyc.e,1vLi'eL,
    l+,ro~\'(~~(-'\_ t--, c}._t___~'l\e_j___ <'.:l.S C,\__'o\o~~ ~--->,~, le_\/'(..,l '
    L__ t O U"'-~ /A l , S'-t'. V't re.-- V\if o , (y ttM i'A 1<:, °'- fv\ el hA.\ -e.J\J\eJ•y.,n'-'-J                _
     c\{_,+~"'J IJ.....S. "',fo )(yce1Mr'{__ ~uc'r,\.·,) 't-~c., Cl'.")':> •~¼~Le. &t-- a__
                                      1



    tlArr~ f ""'"1 ~I)\.:,__ u'> °'ttl/\ &....~<i>(,'i..L-\-e~ lfo i-\--h Vv-eut~ \ ei:,t\.t-J':::. civto.v-&f ~
    \.f\iu-\- ~1 l1,1\J~'1t. ~ ~ ':)1 ~n ) ··,"'\C:l)"'t,t1.,V1ue.,) CDM6t\..+~V'tV\-(__~~.I
                                                 1




      'ooiv,~D \61\c.,t) -             l-t,,.\-k<'A.'j~) - 5--e,ib-) Q.S ) Di- (.,D""<i'--., ~l)._{vit\\Ab
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LU ,~J--½ clt.J?-<lt-::,           t:x...ltt. {lo tt-a~ 0 -~ vt. ~ cu,--J..... ':fl 1•,,p ~J
                                                                                           o v-0a~1-et-i;t--
                                                                                                         v'\--,t:,


vs,-,.-\;, hy po,,) 1c..euvi.1C).._ J pAr.J.--tcJl ,._r{ 7 ll.[ +{.r~ V\,\e.e,,vJ--,,'I.A :ft~J~ .
°'--') )kl--t•>'\ I cv1 cl-. JJ o,-p Ir. ore.~ I "' ) ') l,,.,,J J... l-, ....vvt-l. ti r ufs                                           t
 ){vu, ~ uke.J.. ~ VV\ \ll')e_~ rcu\-t l7 , =:r-e.wr~ 5~{+' w h.:. ':>--.1·(-XJvr>e_
 r   &...+.te..•'\.1\-s e\..it- {""l":>k..- ..pc) { hy p-.:,c:}YLef"'1.1"a,_ C;;-e..., 'J-\_.._o!>~--L IM~l:,1 ..-.. :)      c.l /\


 5 he.J\J. lo~ e.l,t\)~(._'\)4QJ.. t I"\ +~e... e.,v\.(. ,ry~-V\°1 Ve..':;;lpo.,'\};se.. r~"vh~c..e 1
f-,;) r ,r-e_l.c/ j,~{'.t:, "I t>._,vJ\__ -h--<-i.J-M '-V\.1'- ,,J!... V\'1 pO}['7l--e i<.:,L -<
                         f\                                                                                           II"\




. i~..ttA_rU'(i°[DJ\ : G,                               l I'\~'"\-rtJ }-[Jlf\ 'S, ~ l, D l 6-__ V) (tv·L s '('Si-lv-t.~
                                             ('('.LJ..,'t ;-..:>,'\.'{l                                              iJ


 ) I'\ r \lt.c..e. +b -e.Jt\ (_, u q~- +~<.(,+- , <-\. ptJ.- ~ f ""') \ ~J l /\ d.t1 u\ { OJ s Q_ V\Q
                                                                                                    Y)


 DI~\ ~rs-~!/\~ £).flL ~ hre,Y'\ ; ""vV) el(.,\.~~ 'b e.~IL 'Met\ t ::> ,..P. ¾r~~ ~ fe-..(t-

  ~ ~~ rR\-}'f..ci\.+-\, VV\~(VLl pl~1 { :!:+ -st1b0{<1.. 'a-t.. f\D1fJ) ~Dt..J(Vu')
  +-~'-l-,\- eu-c.J\ fv'\Dj.__e.* b..-e.l~~~ t" Meq_l [t)V\.~fi--rt,'1 i.>9< ~lA ·-\-l...L':><!...-
  6---Je~•\h ~ r \ \oe O...S::>£>Lf;;L.lt.ol !J.)[~ h,fo~{ycev111~ , X:-+ Cov,'bt~-eV\t
  LJl.._(L-e..~? '"11)          ~ ~., I D(vi~ (\ Co\JA V1D i-- ~ evf:,\j r-e..J..) (o...f h:A ---
                          ·fc>o tA..    l)J ;-

  ~D{ t ,"j 11\'j\Jlt A O-.v\"~(o1"', u-~l ©c~L °'-'j•c1,.Js a._re... o.....pr,('1)-re..J._ --f;.c?r
 &£lv¼,·"p.;\.-r~-t~" b-0nt~ 0r: fvll\Vh<lr4,fdy- ~f't-tr \'\-\~~\~, S\ic-.1lb..
 L-~ n. u M ~~1/\CJ:.S ~\!-(b"-{_ 4-4+ u\--t,l o.../ p~+-r ~ o....(J.e.~ ·--6 r~ u.. r-       LV\                               -.j \


  /\r-.es,,..J '::. ~ Ucw if\') y\r\---cAfu~+,eV) ~U\I\ '"" f-;-t--r~+ro(\.1 f)D \ fc:...1 <-~ o...V\.J.
  p\fC &e..cl.J <-e....':) V'r\07\- \o~ \' fy\~,e,1/\1\t~"4-e.d 't? e_t,\')()r,-e_. ¼e... (-)"'-1--i' (II\.-L\-
  re,cI wL--:::. ~ { D p-r,~'\<L nu4-rttr-.i,, +o rr~,rt.vd- h'tro:/1 L€.(.M/'C'-_ ..
  fl1 IY\ 1--h> r ;' ,_.,, / Jc h ,l 6--l y
                                       ":J                            c..-tl.w\ I"-   : P/4r.c,_1h u1 ,¼ +~1 f "-- 4--
 &r L;i~k-=, C\!""e... t;.J- r,'-)L ·tr h, p jlyttlk1
     Gt.                                                                    0 °'-""'i ".)~o..;\J_ ½~vc tl...e..ir
                                                                                          1
                                                                                         1" '


 L-,\SG-- ilY\<t>V\\1-'l>re,J,__ +--w--u.. o, V'V\.Ct'<!... i-,'/\-\c...<:::, J.4.;(~.,,~ U111e.>..p\i\t'"LJ
\,, pu-1\v~r"- ti\ 0.. e~·hLJI~+- L» '+-lA -+:f pt- -i dr-C\lo-~ks \1/\o../ SujJ"-l')\-
                                                                            1




\'"'fl'."'&J "-i \'.? KA-; d .-i ~ !MM1¼ .-.' "' t.r;'- \t...J-o,....es, S½..>-'l ,L +\o.« re. t re,
 ~ru-~r-M'2&_,
  G,-j / t,.hJ.. heuv. ~~ l o\o~ LA-1..C...) I', Ci\. \M~ Vl't. &?'-· I D") ~ fo·.,,,         l,o                                       lJ--
  ,-~V\-\!)J\~\ 5\~Ltlf'v\\i.., L~t'\.-\--ro~, rer~t(M ¼t ftu__,
                                                                 1
                                                                            qul\.rl--e.rl'y       _           +·c+-
    ' 1v, e°'-~-t.V\½ v::,\A~-,e_ t\Ji~/ V\,~ L½v-~~J. or ~":)n t- fv\c,{..}f>"\; 0\yc.,-tM1l5at\:
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    'b \'::> U"1...put'~c{e:::, \.o--t_+w ~e:   V\ ~ V"i Dn ,'-\-a r,\ I\.) lf'GS0 \ ~ &\JV\..l IT'..J-L vvi_ a...
                                                                                                                           1
    \ V\ b.J uJ--c... o.___ ~ {.\rV\ C, \ " (o ; /) Of A..~ "-t / ) V1-e ~"'l \) lyJi~ J ~ (' A u2.cl e U'Q L.frv4-,~v)

    bf-· (,,if.)&--· M OV\ [·t-o (1' V'-) 4--t:.c.~ ()/~ c../e... C\..aj_ ~'-' ~ p r~e_V\,:4--- or '/'\ I+ lc.l t ft., '1 e:i-f-
                                                     v:'
    VV\ ~•~ ~rLt J.t ""+- ('._, 6&- C>(I\ IN>r f..,J ¾ I J.~"'-t f'i w h~ V\ 9 \y c_e fh tc_
    eµ_or~tJr,.~ v..._rIC. D@rr,"'-~ a:v\~\ ·lJJV)['e,~ --ht.L,eir L9f-i--~ Ma..l\o-eAe::.
    V ~ 1l'V\ ev1 'r-:, c.¼ ~V\j i "'1 ,.
     (\JA-rr+-ro.-\4..,l ~Df\,\11\.,,(~ Ja_-l-,o,,':> f «:>r- LV\J/ir,·l.iso...6 L.,_) v \--\n 'b1'c:l ~-L+~~ j
     Na..}r-Ei>f\o-.\ 'J:-V\.'ji-:,-0k.<::> ~- \--\e~l'\-lA {J-Jz:z__-J'XZ- I...)~ d°'-f,Jt ~r~ ~~~
     \f ,ewe l b('i\/ (\e_           ~V'~ r, :/\ 4-e&._ h¥; //www . n~) .. n lt'\I\ ~ flt h., ,w/loa.,lL...::, .. ._
      / N6k ~79 o j-;J__/ #" M-ec.l- "1o+r-- tl-\ <"PY r-- c)\J o..h ,. PJ TTl:t,J' & _, TI -- A1(_To~...,
f
I      ~\o~, lrc;\,-k L&vl\1--~"5 ~· ~ 11 C2A.rVJo'-'i,J.~{e. c.&..>1yi--i'"J 1.., CA.. i-D..,'\ f-k....t
r      utv\ he.- +"--07Ltt +-D V\l\t:.'{-.l\.r"~-:f-cJ feo(>\--e._ w;+-~ c,li-""\,-~4-c.":::. J ';:;;,I). -t--\.;-e-y c.~...-i
      1/V)brL e.~~ l y -es-}-; '\l\~+e ~<- ~V\Cul\ t-Gv-a..\111\~) &( L"-f'i.oc.~, J.....--,,d-e 5 ;\,,
      &- p~r+,"<-ulu..✓- f bOJ.._, Fvr+l.A~~'""'cre. _) ~+=H'I'\) "-'- ~-e..f C.o....✓-l.o.:i~1 J..r,:,\J-e.
      1rl~(.Le -b;>r -tk~ 111\w.( ct// b~~ \~cp"-e._ w ,¼ A_ f".:.l_l::ie-+-e.~ h v~rL .
      ~~;l, M'-\._~ ¼~r r lv,._(\oo\t\7 J..v-<1..-i-CL ivl~clke. ·{o +--he °'fPre priu.3·-e_.
      VV\-e~\t,/Y\e. ~V1'b0h'f\ J..1)':,€.. .- 'Pc\--evt~ro-.\ 0-.&v-o.""-'h'je'.S t).f- c__o...r~~¼7 Jr.~-fe
      l,,DiJv\+i~'; \()<luJe._ 1v\f\f<&v'e.A                  'J./Ul..b~ c.ov~'f..ro( 1 fl--e~~ bi I,½ l"
     -P d'.)D ~ (>J\ D~   <.,{_ ~)   ~ 0-e;,t--kr L) l'\ ~ ~ ~ -j__fr-~ D-+- "'1 b,__.J VV\ J c..,ll r V'\ S,-.J \ I'..,.,
      '}-D \-"'-LL ~ 1 0.. YJ ~ 0 I' VII\ pl t Ptud-1'~ v'\           G>-f.- (/\-'\-WV\ () \' tlV\I"\,' ~ ,

       Spe t.1'c"J Loris1'Jtv"tvi-tD<-\.S f;.,r P-eop\e 10,~ brc\;lo-e..--k.s }v1tl-\,.-\-QJ UJ ii-~
       ~S<JUI\ Re:)N\ev'I.S D'i).;.,; s,-r--.c..ltl'.'.l,-1:~e ';n<:>vl1 1"\ w,:1--~ VV\<vL,( },'.~
                                                                                               1




       \ot:-l- ':iC..J.- C) "'- 6LC'\-l6h "tl Iv\{... &-f-· .µ,_L- j                    b J u-=:,eJ- , P-e o {) le. Ol j r\.\
                                                                                   1
                                                                          V\~\) \ 1 I\


        j_ tJ.. 0--v\--e. ~ ~'-" o u l c\.. 1/\-\,-u'-~u re_.. lo\ o~""- ,:} uL" ':::£.. l-e,.v·t.,,( ~ pr t~, r f--J v'h. -{(.\. L::,
       ~~ ~ V\"-.ck.<::>             C)..V\~    l\..\.- ½-e..il..+, r'--.e.. l}.v--.cl a-J._j\b't"° t'-"e:. ,t ";>oJ I,'"' J&::,-e..3    I



       ~s V"\..U~-cl \o~':,eel f;)n (V\+ttk , , , b+ f-::i also 11'kpoc-+-4 f\.+- +-t;)
       et\0uc+-~ i--""-e.. p-eof le., LQ)tJ--k &_1r-<,\_l:r·-d-t-<:::, &>"'- "'--cl_J-vs\-t"-'\~ t>-t2 _
        pvOV\&1\. \ jt'\~U\11' C&fr\')1J.e..r-it~ j?RAA-t"-,l ~sluc8~e., '1-eu-Js)
         CAf\9i)~y tr~ j il\l-nke./ A!.,v,~ ~V\+r<.J fN\-l~                                ~h,~      ,'c.Ai1 ~ci-rv-a-y,
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               - .

11M-:f\, r.R- I~,.Ai~ ~vtk M~l~ ~., Tk j"~'"'J~~+- /'t1,l'- For_
\t\~~,\'f lt~.t'Ck. A!:>u \-\--~ ~ht,"' f-h.t.. yJe~J"-· i 11"\!)vlit\ ~d-to-, J.x..)
 ~+.- u,~t..rdl..- wi~. t~ ~lr.... po~f""""J.tck..l 'i luc..o:>e,
 h , ~(lV4\f'\e J •Hr,c., l Ot"\j~r tlv~+,""'\ o-F- a...c,.,+10~ cf- r~ vi....r
 \ V'\ ~v\ ff"\ M"\'1 (~. ~t> 1V1ift.~~"'(.J... {\"~ l..- ~+- lo...+e... fb~roiA!r~I ,
 '


 V'\ll po~}y,eM.ftt) ~u.~J.. i-uf .J..lrt ro...f •'tl. - <A....<.J·•'"i , n:,uH ~
  ~l°'j~ J whr,~ ~ k e.lo~r to ~ \ U\l\)~p+r1.-i;
 ~ a..JJr\-ra"'J wh.Lt'\ ➔~ 'f)Y.v~·rvi"Uvl \~~uL'~ d_o~-e. )~ +Do
   ·\6..r,e.. -P-~r-"-. pa..r+r~u(d..r v'v\-o~J r-el~+hr~ hi+~ C..°'-r-Loo~y~~t. ,
   L.OV\:tt..t\J)' \[\ '---/fD, h(l:e""-.{Q.. Lt.\..,, r~~vt-f-. r, :tf "1-«l.tS t.\..lt"l.ci.

  1"~ i"'~v\i ~ f'-<-1 ,'wifJ/\ r<-ltV\ ~fV\ Lt\t\ ~:J~,\-1- ¼<.~ rio f'"•lal·~~
  L-t.)it l V~Vq_,ll1 A~\J\+.

   Uf\\\J-t.~i4'A o.f.· F(or-t'J"'" \)to..l,eA-i~ Tu~rh.Ae. ( 11/2-7 /Z?.-
                           pr}"~eJ : ht\-pi// J..,o..'ot...-te.) v-P[, d..u /Ot.Jf-r-<A-th/
  ~"':, lfJCP \jf'<,\AeJ... J

    -('...tSuvrw..~ /invtTi+ro~/ ~pt., -i- d\i.._~~/) :

   X.-f 't" J l.,,,..v t--   ry P<- :j___ clr...lx.   t(.', I   n--,~ }. . fe rk...t-- it> t.....,._ll w   .
    hew '(V\O..f\v (:.A.f\.::,o~,c.l~+e1:, yov --e--.,+ tL+-~ WH.l\..l. ~ ,...~ ,~f:.,,"'""-+f•~ ';
    ~-t.lr~ yov O..t.1trMt'n.(,, ii~w A'\v"" tf'\'>vlltt v~J ~\'\~1.1lJ. +...k
    Lv f¼ y J.f" ~&v\ +-.o ""-"-• ~ 4-...: " lo\ J. ~"' ;.r l ~ l vc,,u >-C.') ""'W\1?11.
                     (SJ                                            C) .,

    C».<\,t:,~'t c).r,k.4:l, o.r...,.. ~\.e.- .M.<A.t~ tyre,, c,f -ra.c,.l ~.,_.,, vo..-/x~
     \o\ ~ c1! ~,~ , , A- &'!-(re"-te,., ~ "-\~lf\.L-e.... of- ~\on ~'10-r"vie--
     \tl\--·~- J iflt.J\{t\ I ~ (J~'>Ud\tl "'-"~lv1f~ l'J V\-«t $~"-"Y
      ~or~e,~~ \->•\)~ ?~~-,.-~"'rr~\._,, .l;:.f-~~-+h~                                     --~
    ~~\-or:>. tJS<., no-\-,~ \-.:,,\.\"':'"~~ 1 ~~'.loo l>i\ ½~ u,,.l,e..
     :S,l!i ~.,,. I" lo\• o,l "-'11A.r C.,111c~) \ e,<e,ls ,


    fn~~t ~\~Vlnl.-,. ~ {$e,, LJ>Ut~~~+e"'t,, Mtt...f~ ct,~ '5.-\M-k~
    ~cv\ ~ \oe- ~te" lL~""'..., s ~ ,4:-~ ~t11.t.t\ fU.J, ~ V\&+.
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   \Oe, p ~ "b l,...f" lhu1" ttv1.l 'bn --,_l..b • ~ ~"--~-:.. ~ a.,..l
    +--1 Pt., af- ~ c_c:v-r\,~1.,ycl.t,J\c,I .C,.,J:, J - J._ ()A'1-t--lt\~) Um i' )4c,.,.t
   --fv.:."" &.41 fu &.b..J • , • U ';re- i "':,uH..., LI.--1- {-~ ~,,,,.,,,._ 4-i' ~
       ~. . ." 0-A-f '                                        .
\J) \\A~ c..,elf\+'(, If' Fer b,"Q. lo.t:1-e~ 0...1./\~. /;;~JO(...("•'r.e,, l ~ blj                                      .
       :s""~~"- t={~.fc.~e,(' ) ~,.H-tw~J. ~ k,.!\.tn~,,.~"'l(.. /hQ.rt.111.,0 LbAI/R'O,;
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                Case 5:22-cv-03170-JWL Document 1 Filed 08/16/22 Page 63 of 134




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        Case 5:22-cv-03170-JWL Document 1 Filed 08/16/22 Page 65 of 134


tlo.ff &__ua...\'"r-f?rcA-+-f';'.Jn~ ~ \t"-L- (cri·nAf..;lar SV\t.A.Vl Wu~J'r'4"vf- A.il1
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                           Case 5:22-cv-03170-JWL Document 1 Filed 08/16/22 Page 66 of 134


                f'-e.q_u~r'l.- ~t!\tr~-f)(       +-o po__r.\-rcJfAA-<2- ,~" 1./(tf\f   y42--\.J'j"{_W)   avnP~"jl;
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                +t-.,,s Ce,,,,'.4-0'-C-\-, Cti(\'½-lLt)hr, -s'..t-o\.ff 6'vtCLU p-r[)\J' rd.~
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      ~ " Lf,,' :---J Ct,/\:/---nccJ-oc w •ti _lo~ c:1.pCcteJ. f,, pn, v:·Ji'-- :s;ic,._~
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5 ,, "( j) u'c> ' ) ~ i>pedfiuJ·h•D ~ C-Df\+r<k/..,+ i9 f <S~v( e,V\::,0 ~_,, .,
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              l.,,14- r vlJ.i? r ,A.I ,l\ t rl~ ,,l' MA c-H 0 Ll.lr(>'t~'t V<--.Jl-li t.\.rd.
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                 t'._.11,\                                              't>                {;),VI

               Pd.tr<\.,\ ":)~e, o,,,J. \ ou.A ct..~ i-t1 l!lff\...'1 , lt-"''I UnS"I:~ p1~...t;
r1r-15\        tl~~J'J.e). _~ 'S)-J;-e... W <H ~· c...orre.e-t-e.L ~1                                       lo,J.r--...dflr
           Case 5:22-cv-03170-JWL Document 1 Filed 08/16/22 Page 68 of 134


 .ot tlC.ct)Nt4l Jb¼ztl.J Dfclk. t0 tvt ~we__ t"t",:~~+- +D rVLeU:Le_
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  erD} u)I-- tt_S/;J('j Vl~t u         f'\Jl{- ''f-~v":c;,   K F p,,
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 7--e.:rr'V)1r')A,,i--f,o.--, f<,c-- L0--i.r·:;e I Iv,{. tJ;'rl1..:tD( c-t .Pvr~(,\.~'C_~
    'l"\t,\ ~ +·{FM ;rf\r.lJ-12-   1
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      L cfU)MSr~.V\Lf-5 "T"hL c_p.,,\~L,h.u-- .Pti.)\~ i-{) (in.4.J-le.- rl..-.o,.,.,(tvv,
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      4--\it. LOr, -1-r. . __c,;,h;,- prov li J-.i,,<, 'c-.A., f\-w(I ,,L,_nl 1ud f ~r '.)
       \).Jc( ~\tvJr-6\I\ t p.) +k (~~v\-\-rriLltbc ·Peli\~ ·+t) p.e_1rf-c0t1/1.,, 4-_,V\··,
       &f-\-lv-t ?VD'-'hl'ot,s of µ,f"> UJr1-\---rr)JJ+; et- tht.. L,1iir~J-f&.L-~
      -fuJ \5 ·b V'r<J,s_ pni~ W='::> Ocf:> ·tv e.n J.Av")i" r f)er+tli'iivW'\'-{_
       e~-ntl             ~\       ;~      \            J                      t./+-V\ l TS --re__.tv\l\ ~
           "t-1/\ ~ 5 CD¥\ l'"-("'<J,\..)\ 1 P, O,Llb Cr. J}-r/~I..." e, l.>.~ ~
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  +--tAf V Cc'rt~f n wlt0l-e__ ~r p~ (;J~te.JJ·{r) ~~ ~
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 por+fuA t£- '1--~L. c s ~ p-e.-rf'bl ~ntr~ l;JUTL(°V"Dv"/'&&)__
 ~ t)f'9CL)~ ~~ llli-tp-1--ci \oy ;shJk_ ~6;u+ 4-8 dJf\_f
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 ~ D.Do"\ttfc_c(Jf~tA:) (i~                             ~_'?(u(L ~ ~ L - c~I/Jr-.r~'f--&(' :            I I' J           ,


 h r (°<>If I'J. e.. "t Vl,\l t,'2, e.J •:;,'+,J\'f,") cvl-- +w.Je vd ('.el L>i' ' ~ \:,y
 'Y~\e..,. CJYrtr~o\- ':JfU!'f21r:_1-d-l'~~ ('v)d\/ (e:,v \+ 1'A 1-eff\l\l'nlLt.fo r\
       ~_y~,~ (_})()l}r~ •                                                                 6) i J.Jll~ (~) ; ,


    JV\ ~+trt1A\ <:) A,vJ, WDr~Vltw\S ~1rp ! ~ e , L£V1. k-6\.c:f-or s \vJ l pa-+bn/V\
   l\Jl w 19 <-l.. VJ\~ tuf'v\.~\.r\ qJl wpflt~ tA.)AA._ vhAJ.t.~JaJ~ J ivic.t.~i'~r-1J
  t'...tt t),fp,w.tN~ / f A.Lil f Ht~/ ttY\l VV\-eA-~) f"\f....l<€. ~~ h.r-1 ·+-v Ld)V\,,\.f It.i-e t.Ll l tl\~
  luKI- V<i_u~a~ ~ t'~r~:> lbV\1--r-,u-+ J (/\} ,-1-l,rY\ +l--e +t-A '"J~if.f eJ..) :,                                                                           11        1
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 IJA.UJ)rrlc).~ w ~~ ,+-'W1... ?vi) \f ~~r'~=> 'op{.L.tttu\.._,

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. t" l\J_.LDr~ Uh""' \.,,e,':,½- e~,,Jo\ i':>h..l r•.u.:k<2 ttvvl ~tu,_"~--
  tt.U> •)V\ ~~ ~ ~ Ult\+r~t f"!V?·t.y ~cl L{)!Vffe\J Ll)\,i+i ,cVI
  e,e&.e-, orl. rt,~\) l~;. wh; Lk tz,l,,,JA °'PP'1-
  ?uf.r~"""-ce.., ~a--.r 'tf JBev-.lA. ·, 1k G,"-~ r 5'\'°-lVI fH e,         N\,
                Case 5:22-cv-03170-JWL Document 1 Filed 08/16/22 Page 70 of 134


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      te,v\-rc,\.J- ,.       11
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   (\-L.A.1u1.\ tl_,. ct- i·B •~l- fl>vl.. <::i~rv'l·'v~ VV1c.V1~e_r i,.__+- Li;,,..Ll-.. f~l'-\-7 ..
      vJ h llfM"'-L'( ':)~ rvl'- ~:', ••                 r r.,.J/t, I'n "'     of «.H        p,u,      L,-   I   pt--:-. ,'\   OlYj_   .l
       n ~ '' ~ P, rt&~, f+,"                  0   /Y\~Afc.•,.h 'b"'          '?~Ll Se {-L~ re.st'° ,,;;,I br/fl-t
   Df f-4_ c~.,,\tr~~< .J •., 1he..- uv-J-n,'--(,_+,!)r- 5 ~"Al f7v d t,\r..r;l
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            :1
    J. I"u- o.. ll MUt .,,-",Ul f n;-,cr: be l Y\ on- e./hu-'-;"-"-'-'1 rviul tuA-,.,,..,"'
   w, d-ln,t"\ f2_Lf) ~o...>r~ ·+/7){1/\, ~ - e-l.vvk ~- p-~i'rlr-""'- t:s
    W <f+f-e..n A>\A._ %"-Lt pro-.1 ,, J._ t. -:;;v '--L-, M ulr,,,,:'h "'"~ c,i,1-/--,'11 u9 J'c,\
   Hw. a.£1..f+er IA.~ pre>c..-~lo-eA                             y   ,   ,                                          1                  .


   9--, V S I+ e. ,_;\ '\'h UL rt, C>oe,vMevA,,-:1\fe" c, , ,, '11--e... VJ t"t. ( jL,
   eu-rL- n.L.$,l ':>"""-U 6e. lL-t p,,_. t.u rn. v./h.J- c,\_,V\. 't-; 11rt t.,, ,bll4>, "'""{.,ft.,.
   ok- '-l,l:JU'"j <.v,L6.il\_kr w'< \--"1 fu.. 6.A-'t,,..J. i f h, 1<--t u i'r-ul -I-<, ki-<>-
   (J) i"'-(\ ueJ. P "- \-lr.e.- 7J INl"-l-• & "''1 cI\. wIA rJ,,i +~e.. e,Jl\. U>J,/\,+t.r
    l)(JJJ f'(VI. ct,,,.~ CI\ "'-- 'h' Mt,\~ IM"l/\ nU-- c,c,!, -/--~ pn v .'Je. NJ-UI,v\--e..
      d. I'\~ t,ll ,-,,:, f :,'.k"'.\-- &.,\) (.,I) M tl/\\-,..__\--rP'\ b t- ,A \A V\ el,\,u,1,. u,.re_ () CJ..;fl_r.u!!_
     ,    ; t) 'D (>.I M'-""htt'" "- J2- V\ u\-1\-"'.> &f -\-1-Cx [l-t-vt_ l -\-t- G-- re.. P            t'Dif,'<.ler)
       E>   /!.-tl':> ';j\o,,,,U i0 Cf.JJr 1>,,'-6 ::, oM £11." ,r-,u!._rulu1 ll--f_bf!.,.'>-s ""t +,,
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       9f\)V ,'-,}__l, Af f11\r rr~ hu """ v p ~ r'W-- -evu.o,., >v+er, NI) ./-I")
 _ i;,,9-,9            ri\.. e.o, t>¼Ll \oe.. t\.(__(_/)111M'.i'\.xul by °'-- l ;'~€.IA~ V\0 r..,e__ o-"-J..
       '::ihl\_t,\ ~ (,1)1\,\p \-e,,W L,0 ,\I-IA ff\ hstA, ---A,.i ( (JJ-{ Jlv,u rs. ~c
        ~ . -.e,{\(>0~f', I '
       ?,_, '2?--, "f, I.( J:;f\ f-W)~11\t-J'W1 ~-vWl, ':':,e,1'6 f l-J'ir<- ~h_)rt_ .,J:;2-
        L}> r1u:;\-fo ,-,_oJ, f-<-<l \!f.-1--t,":, C_tt,;k,,.U-,,r ~ (U.S           'fk_.                  +~-1-- \"
        exf-t.l\\~ ~00; I~ \~ &__?2,c.R+f»i\ 1 t'.:> ~sl\J+.r>:,fu.A__ 1/0 i'-J,l,\
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  Qvi,~ &iP·'\J~               ft-~b
                           v, vl<l      pvu v,d ed. J nJ.tr ~0 l-6 f'4_r,,,_,__i-
  K\\)o\L- rv.~ 1 a_t,,. (          ~ccU6 oe ; ;, tJ.0 ft-D;J '1/t)-<) 1h, -:!--½~
   urre.c~Cvl ~6-Cl~ l,, ti ' KboL 0~"'--u f (7'1F1'.le. vJ rr,:i-+e.v\
   n 0 )-('Le.- ,h, 'j--,·~e.- (_el"\f-r-"'--cJ-.-c:).(' b(;;.• '~\Jc.,~ f~f- ~r"lj___ ~ '(-liv"-6~,-,.1:.
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  tl1vz.,rl' t') ) tlin.,)._ '-1-J,, L L,9" ~ h , (' '.:J ~,c:lA fw..-L O II' L } - ~ i ,.,j. ~ [
  }(\ i LJ(...:,}f'uv, ff!) +-~~- e )r(AVV\,'S CAJ't.(''e_J.. ~e.reJ
                                  fV\.             rt)                                       I'\   et,Jv1J__                      :
   CJD vu w       ,~+-~ &) +·h e..r o'-fp~f fl'\,d·-e. -p-e. rs0~'\ I\ t..,( u v1f-f'1 tJ..vt °'ff~ v"4l.                         1




 {'--e,.p\l\..U,W\U,·J\- S""b -ft__,.Jll'\cl_,.           .                                                                  .,

  7A, ~D,7 C..On+rJe/t\ t-r~Lli·{7 t;f· Of'th_JeJ' µ..6-Jl ~ Tnf4'°'A'l.t0~-"                                                 i




  /}{) h l'J\.lR {A"hjn1,1J~J\--/0.~ -oh~\\ ~-e- ~L f(1)fu{-1 &~ Kl)O c_ .. .- " :
  Dffe it\ V) fh. \ ~ C.4. re_ ) Y\for
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                             l&v\·~-;,J ti-\. w( , (\ n ru}-J.N.. ~   -n=;t.. U> ~+~cf             '.J

   'l)/l,\r lo)"tt..'b Ml__ K'Do c -evhfl&y,w;, ~w1 k. oJl~'-lJu.t.                                      '-'{{_(',,'::,<:,   •

   h 1-,\,,t-'b-e-, -P.n {,, ') GvJ r 4-:, fl e<-..1..ul. f;, r +t-, i I' !vHlb 0.lokJ\.
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   't-~ t\ne.. [4.,re_ ck ~k &{2.:.f-{l!L tL-c.r-, 4Yll ,'n. C\..CL<0r~v'\. Le. ~ 1't-~
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        ')J_ btu..~1 /\.J ('~ The. t)t\_S{>_ okpPi'A.j pi llf\ UJ tA-5 f>r'f> v,'d.~J.,_
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   ((\_ A-r~J_f F· ¥1'I...           0 tJ   Up,\ e.. '::> J.=:- "'&k+-P-~N) ~ J.r,e.J..u· 1-l ~ J .
                           +k
  eLi\.(J)n~llS':>hJ ittl \rx.u\;~   ~·k£P-) ·o'vt~U lo(L ?-Jbf)"\,[~i.l. ~
                                                     Cvvf~

   ~ Yk D·1r-Lutvr b~ ~\R ~~ UN\,p·)~\.l/l"'LC 'to-v; ~e__
   )0 ~b- &.tt-1 si.P ~~ Nt6,ry~~ ~rf'Dr ·1-0 ll-t-l l "'ir-y ~~nJil.. t_ /
Q., 1 2.-'L, Lf, 3    Tk [o"\ -\y-,._J..or ':Yll-Ll \ .fur,'\ i's½ -J-.,1..t. v)Ue.>5,,vy
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. ~ hi "J }(1\)~.,. t.- J 5 J~f f'.:>D J ·Pra ~ ! : , i'""'"' \; Cvi. J_ -:) 1J)fd A-
  ~ i-t\:t+- .Pt)r ~ ~'i1>p-~r- ~V\l e. ~ve.. ~1r-..0i-~\                       ,t;h~
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  l.w\;1.rd'\ ,·sS (A_ kb OG f b'? ),¼ I\] I
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         'A.,~~- 'S¼~~~ ta~J_Jc,4,tb1L~ "                      ·i--i,e_ ~n-+,~~-l-ar 1,'~J4·
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          ~ v'l\1-e. J lil~ 0 '-- fv\ 1''111/vl u,vi. I ~-L S¾ffi t'j 'I '-e.-UL{ CS ~~~1,,iLJ
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          kO\,J< ~I':> L&,,-l-r&\,v-1-         #   "/
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                                                        I\.!:,                                                           i.   ·
           \ _                     .                                   JQl'\-•l1la...

            'Elf"d p r<,clN-1<>,-,t-re> ) r..:y'1:>t-ld Vhlf!i.~) \ i't--e"1f>e.cl ~le,....__~
           nl) {'~ s) L't'.r·t-rf} e.J. f\t\c.A.rc.~1 l\.lJ{s ~ , ; ~ :=,:::,-·ett1---fci.( huvG
              l'hR~ l,,.e          ~ "-d.'--+, ti e,l lo y Dvu-4--i' ~<- J PR'fJ '6~f,fJ Dr
        °'-r~ ~[~~~
   Q/)S c_l i fL"-t p~_\'fu.(llll\A.1-• tLe
                    V)                                    1            ~Li't::V"ZLvvA-e_{.~                      .::«>


           kt) O (,, w \' t I MD v'\ t ·\---c, (- \ ~ h-(A,l 4' Lr.\.f'e... 'fYt fV'i 1'.e,,e s rvr.') v- lie l__
           a..._~ c>J.\-t lt\e.J.... f I\, t~;;-~ CE,v\A--r"'-c.J-- /hrrJ-c.,{_.r, Ll ~~ 'Sf<--Ll'~Fc,_
                                                                                 J


           "{V\f..°'-.')'Jf'.e)S    t.:}Vt"-.\,\. lrJ-e., M. ~ t\ \~¢ r.e.,ik. -e~J/1 Yvt <0-1.--~ { A ~DrJcwtG(
          0   f \-'~ i-¼t.--- Vlf\}v'\\'V'-VIV\ -:J~~~rl ~-e,;t- -P~~ ''" ¼ts (!)rv~r~ '.
         T/1D''O'f-_ t-;pcc)f!tv 'bhvi.il""~l'::, \nLLrJt_ "o ., ., , Spe.c..ta.( ne...els

           Gl tt'\i\_.':) / (hf0.v\-i'°C... &,re_, ,/, r ; C>pt:..L;-~\.l '\--t-) ~-Fi) c.,t:,,S, ~ = ~ :                           1



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      s~ll J p•~1 'k> _Kt D c i,l~ f :,c.e.ly ~(oto\,.; q_Vl<}._ p-D~N f'W\ lA.vl 4'                                                                   !

       ~ l.)(~-~{.         s. ) lb I oo" {) 0 +i M{);, i---~e... v, Uv.,..,'b·fI' &?2 n~ I\CJ)'YlraVJ(---,1
        DLUJrrf_.v\_te.,,s ·11ti'\1-~~~~l clur(~J ~e., r-e__v·~ew p-e,rt.gc.l,
       ((-:r\l\f J j o'\ un-"~t'.:, ,v.r-u-vJ IQ_ "'-0"-~':, or (,C.n~ l.-ArL V\ o;v- U)'l"l r.,,,,_ L
          'o y 1_ 2./5 , DD (_;~ , 4\ I'.2--' 5' ~e,,, J 11 I ::5 ~ 0,"{.,J ,e,h, . cM.h 1 'Vl...e..                                                   .
         '50\,J -:)TT.I."'iw-i r--e-rfu ('(!\M,v\l€.- h, n.s >J lue.J.)) ,
    . ~.,1'~· U)\/"lrvtA.n.t.e 1)eJ ~.rJ.·" ".." ~ k.b O c. fv\0--1
      C:D"'f \lo." t.,L ~ j__J c.--~-{\)r& ~ { J.--- IS ~~ J' At<\ :-}-W- jk_
                                                                                                                                  ~s':,
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                 Case 5:22-cv-03170-JWL Document 1 Filed 08/16/22 Page 83 of 134

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   c.l-tA·~\~ ~c~ t~ o-f +,e)cJ._~~t>/\\'~) tlvt.. 'h ?1v•("j u~ p-err~\At\.\6lc_ ,1,e;l\,;<i--
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t\.t\-o..c.,~,l'-\t,"'.\--- ;? ,()~-\- A... c~J,e,. ,-·- ✓o"-~--e-~ Wt,. L9~,e, . . .,.,, if)t.~t--~vr(., u!\...t:nc,~,
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v)rJ..?t> '1 '1 e1Jl c..,c.\ \. L-i~vse5; e,pe.cJ"'ll; ./fz. u>l-,e.re.c I ~ on
9/lb/~{ ~ fv=~r~!;: ~ -~!:~~ ~- -~J1~~.LE.e!:~ 0'1 ·.
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iJ,H1f(...L\ t.,.J~~ ft-2--?.J.i,7,     /t~o~~d1.... ~i:> d.&..;IY)';,~ lor-&.J. _l,1J I'-~ $(."\ -\--··'f'i> ,..l~c.. ·
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&.el) It.r;l vi··1li ·t1ri:,i_~ +t'r.\_i" v1t'~Jd-, ~\ vt~ l G,\..➔·/or\ ~- ~- /\1 pp J D- J0~ {::,),
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 +\f)e.l J..rJ 'l-~f\i+L \_ 8A- P /, ,/\e;A+- to --p,;.,e.Jrst,vi~,;h.,l'e_ a,,Al e}r{7,_~f4\_
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                    Case 5:22-cv-03170-JWL Document 1 Filed 08/16/22 Page 125 of 134
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         Case 5:22-cv-03170-JWL Document 1 Filed 08/16/22 Page 127 of 134

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                  Case 5:22-cv-03170-JWL Document 1 Filed 08/16/22 Page 129 of 134
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        Case 5:22-cv-03170-JWL Document 1 Filed 08/16/22 Page 130 of 134
  Yk {)I\\I ~ / ) A J- clr-~ --r ()Jraf ~                        '3 0-V         I t.HN        1.,,...............   ,,__.       .   -




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      Case 5:22-cv-03170-JWL Document 1 Filed 08/16/22 Page 131 of 134
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r:h> 'j:ve, Nit':'... U~f'f'.e.4-t- 2-U D    t--r::,
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     f-->t,l<>~, .-.~~ ·. 6\.1>\)ti M..r -b '>ft,..,,. -to 111{)""-,1.Ll
     if b?rWh ~V\ . -J) ll J-vt 1. ·.         ·      ·    .;   ·.
   r~----j .--·~.··· I b/~'1/~·j;;. t'~ti.-j',;lt.~~-('1 rt.a~t1~t~
    ~~~\· !~~~-H!- ~ · ~ t\' · lb{"t-/J I ia e ½J,0~k~~. ~.V)e,l Vitrtev!:J
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     p'll»A')~~ ~-t.J (i/t..V) .£. ~l~ ULIJ!>~/ lJ1 "-bl ':Jw!} A..r f-re,t{).-0,i,tf:>) ~~h..-h
        ;·it"~ ~~J\~ cf_ ~~~ -~~f lr~f..,   ~~r-,                 ~~11-e4l._(DI\
         ~~'I- _                    -Ar M~ ~.                                                .
         Peirm-"1,.· JJL~,l 12/li/Ul ·•j-4> -e,/1.,~L·_
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                lo-r A-r~b ~, ,                      ·
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tz;ze~~~~b , :1::',~~-"-~~(t\ ff~()~.~;-'t,l b.fr /'::;  .. y'·-~l\Jn!ttti.
                  I~ L l\.ht\,\j 1,t-d~''·"-J o-..-i~·d}<)"\-~~- ~ f\. - ;) I ts/ZZ1. T41s
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